Case g19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.601 Page 1 of 36

      

     
   
    

    
   
   

    

      
 
 
      

 
 
  
  
   

 

    

  
 
 
  
 

 
 
 
  
 
    
    
  
  
   
   
  
      
  
    
          

  
      

  

  
   
  
   
  
  
 

 
   
     
   
  
 
 
 
 
  
  

   
  

 

 

 

 

 

 

 

     
    
  
    
   

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_ RR, Dist-500- 079. Gell: 9595384788

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AFFIDAVIT OF DECLARATION

| Mr Bhanu Kiran Pasula S/o Pasula Balakrishna, aged about 29 years, Occupation:
stucen Resident of Home No : 17-1-386/1/21, Keshav Nagar Colony, Vaishali Nagar,
Champapet, Hyderabad 500079, State of Telangana, India do hereby solemnly affirm and
state on oath as follows: ,

That | am the deponent herein and | as such | am well acquainted with the facts of
this affidavit.

| convey that | joined university of Farmington to secure my status as | lost my
SEVIS from SVU (Silicon Valley University) due to this university lost its
accreditation.

| submit that | joined university of Farmington myself WITHOUT Sama Santosh
Reddy influence or pressure, based on my OWN interest | went to join university
which is true and correct.

| submit that Mr Sama Santosh Reddy, had NEVER phoned me to join in University
of Farmington.

 

Therefore | request the Honourable concerned authorities to show leniency and release him.
Please accept this above declaration which is true and correct to the best of my knowledge

    
 

and belief and nothing has been therein. ; x
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Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.602 Page 2 of 36

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.603 Page.3 of 36

From: Bhanukiran Pasula,
Champapet, Hyderabad.
June 29, 2019.

To: Honourable Judge Gershwin A. Drain,
United States District Court,

231 Lafayette Blvd,

Detroit, MI 48226.

Subject: letter to the judge in connection with Santosh Sama sentencing.
Dear judge Drain,

| am Bhanukiran Pasula S/O Pasula Balakrishna resident of Home No: 17-1-
386/1/21, Keshav Nagar Colony, Vaishali Nagar, Champapet, and Hyderabad.
Bearing a passport number J4287400 addressing you to explain what had
happened about our admission in University of Farmington as! am also a
student of that university.

| feel sorrow for Santosh Sama who is experiencing Detention for helping
people who approached him themselves based on their own interest with
consciousness and aware of all university norms including me to join the
university.

| had a dream of pursuing masters in USA and do settle with a good job but lost
my hope when | lost my SEVIS in silicon valley university due to this university
lost its accreditation.

Later to full fill my dream | on my own interest joined University Of Farmington
WITHOUT any FORCE or INFLUENCE of Santosh Sama. | strongly convey that Mr
Santosh Sama NEVER campaigned and phoned me to join the university.

Thank you, for taking time to read the letter and | request you to consider my
words at the time of sentencing and give him a chance and release him by
considering his FUTURE and FAMILY.

| Vinesh pollishettyhereby depose my declaration in the form of affidavit
attested by Notary public and also enclosing a copy of my passport.

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Thank you, AMES TED
B.N.RA mm 5.Com, u..8
Respectfully submitted, ADVOCATE & NOTARY

Sppointed by Govt. of lalangana Indie
H.No.8-5-283/62, Karmanghat
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Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.604 Page 4 of 36

 

SIGNITURE:

NAME: Bhanu kiran Pasula. {Asfo
BM. RAPT a.com ue
CONTACT NUMBER: 7569501293. ADVOCATE & NOTARY

appointed by Govt. of Telangana Indta
No. 8-5-283/62, Karmanghat
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Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.605 Page 5 of 36

 

 

 

 

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AFFIDAVIT OF DECLARATION ceil; $248608870

| Mr Hanumanth Abhishek Reddy $/O. Hanumanth Anji Reddy aged about 31 years,
Occlipation: Student, Residentof Home No: 1-70, Konded Village, Jadcherla Mandal,
Mahabubnagar 509408, State of Telangana, India do hereby solemnly affirm and state on
oathas follows: .

 

i 1) That | am the deponent herein and | as such | am well acquainted with the facts af
this affidavit. 0

42) | convey that | joined university of Farmington to secure my status as | lost my

a SEVIS from NPU (North western polytechnic University) due to this university lost

a its accreditation. ‘

joe Ke | submit that Ijoined university of Farmington myself WITHOUT Sama Santosh

Fo SA) eddy influence or pressure, based on my OWN interest ! went fo join university

;2 ™W which is true and correct. cS

= Ss £ 4) //| submit that Mr Sama Santosh Reddy, had NEVER phoned me fo join in University

ay, of Farmington.

  
 
  
 
 

Therefore | request the Honourable concerned authorities to show leniency and release him.
Please accept this above declaration which is true and correct to the best of my knowledge
and belief and nothing has been therein.

Henge this affidavit. , iu

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Sworn and signed before me \e& ™ a oS
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On this the? day of ur, 2019 ; AT TESTED_.
At Hyderabad. K. SRINTVASA RAO, B.A, LL.B, Deponentt.
4 ADVOCATE & NOTARY tits
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- , L-5-1/A/1008, Balai Residency, New Maruthinagar East, han WmMew Hh ~ Ak CL
( KOTHAPET, HYDERABAD-500 035, TS., INDIA. 5 asl, (pr
Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.607 Page 7 of 36

 
Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.608 Page 8 of 36

From: Abhishek Reddy,
Jadcherla, Mahabubnagar,
Hyderabad, India,

June 29, 2019.

To: Honourable Judge Gershwin A. Drain,
United States District Court,

231 Lafayette Blvd,

Detroit, MI 48226.

Subject: letter to the judge in connection with Santosh Sama sentencing.
Dear judge Drain,

lam Abhishek Reddy Hanumanth S/O Anji Reddy Hanumanth resident of Home
No: 1-70 konded village, Jadcherla Mandal, Mahabubnagar, Bearing a passport
number K1849092 addressing you to explain what had happened about our
admission in University of Farmington as | am also a student of that university.

| feel sorrow for Santosh Sama who is experiencing Detention for helping
people who approached him themselves based on their own interest with
consciousness and aware of all university norms including me to join the
university.

| had a dream of pursuing masters in USA and do settle with a good job but lost
my hope when | lost my SEVIS in Silicon Valley University due to this university
lost its accreditation.

Later to full fill my dream | on my own interest joined University Of Farmington
WITHOUT any FORCE or INFLUENCE of Santosh Sama. | strongly convey that Mr
Santosh Sama NEVER campaigned and phoned me to join the university.

Thank you, for taking time to read the letter and | request you to consider my
words at the time of sentencing and give him a chance and release him by
considering his FUTURE and FAMILY.

| Abhishek Reddy Hanumanth hereby depose my declaration in the form of
affidavit attested by Notary public and also enclosing a copy of my passport.

Thank you,

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.609 Page 9 of 36

 

SIGNITURE: H fev

NAME: Abhishek Reddy.

CONTACT NUMBER: 8179432505.
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For Wholyr, SistBULETE AERIRESH, 10. P. chiens Aged about: 25 Years, Occupation:

“Student, Resident of H.No. 8-4-119, Pavanpuri Colony, Karmanghat Village, Saroornagar
Mandal, Ranga Reddy District, Hyderabad — 500 079, State of Telangana, India, do hereby
solemnly affirm and state on oath as follows:

 

i 1) That I am the deponent herein and as such I am well acquainted with the facts of
7 this affidavit.
» 2) I convey that I joined University of Farmington to secure my status as I lost my

i sevis from NPU (Northwestern Polytechnic University) due to this university lost

ee its accreditation. =

a, \% “@3)- submit that I joined University of Farmington myself without SAMA

A) i SANTOSH REDDY influence or pressure based on my interest I went to join
Sar’ university which is true and correct.

ca 4) ~ I submit that Mr. SAMA SANTOSH REDDY, had never phoned me and asked

: to join.in University of Farmington.

Therefore I request the Hon’ble concerned authorities please accept this above declaration
which is true and correct to the best of my knowledge and belief, and nothing has been

therein.

Héhce this affidavit.

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Sworn and signed before me Pies
_, On this the 08" dav of June, 2019 PASUPULETI VEDA NTBA

AtjHyderabad. Advocate & Notary Reg No. 8815 DEPONENT
Appointed by Govt. of India
if . §-4-119, Pavanputi Colony, Karmanghiat “0 (438) 634

Saroor Nagar (M), PR. Dist-7° att kesh » Acmuate h (4 7@ au
Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.612 Page 12 of 36

  

 
Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.613 Page 13 of 36

From: Pasupuleti Sai Nikesh,
Pvanapuri colony,
Hyderabad, India,

June 29, 2019.

To: Honourable Judge Gershwin A. Drain,
United States District Court,

231 Lafayette Blvd,

Detroit, MI 48226.

Subject: letter to the judge in connection with Santosh Sama sentencing.
Dear judge Drain,

| am Pasupuleti Sai Nikesh S/O Pasupuleti Vedantham resident of Home No: 8-
4-119 Pavanapuri colony karmanghat, Hyderabad 500079, bearing a passport
number L7831078 addressing you to explain what had happened about our
admission in University of Farmington as | am also a student of that university.

| feel sorrow for Santosh Sama who is experiencing probation because of his
helping nature towards people who approached him themselves to join the
university on their own interest with consciousness aware of all university
norms.

| had a dream of pursuing masters in USA and do settle with a good job but lost
my hope when | lost my SEVIS in Northwestern polytechnic university due to
this university lost its accreditation.

Later to full fill my dream | on my own interest joined University Of Farmington
WITHOUT any FORCE or INFLUENCE of Santosh Sama. | strongly convey that Mr
Santosh Sama NEVER campaigned and phoned me to join the university.

Thank you, for taking time to read the letter and | request you to consider my
words at the time of sentencing and give him a chance and release him by
considering his FUTURE and FAMILY.

| Pasupuleti Sai Nikesh hereby depose my declaration in the form of affidavit

attested by Notary public and also enclosing a copy of my passport.
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Thank you,

Respectfully submitted, Soun ta E eas oh
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SIGNITURE: SO

     

NAME: Pasupuleti Sai Nikesh.

CONTACT NUMBER: 9014387639.
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PASUPULETI VEDANTHAN
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Page 14 of 36
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i AFFIDAVIT OF DECLARATION
I, Mr. POLISETTY VINESH KUMAR, S/o. P. Srinivasulu, Aged about: 30 Years, Occupation: i

Student, Resident of Plot No. 102, Sai Residency, Ramagiri, Nalgonda, Nalgonda District, State of
Tqangens, India, do hereby solemnly affirm and state on oath as follows:

That I am the deponent herein and as such I am well acquainted with the facts of this

affidavit.

I convey that I joined University of Farmington to secure my status as I lost my sevis
from SVU (Silicon Valley University) due to this university lost its accreditation.

I submit that 1 joined University of Farmington myself without SAMA SANTOSH ©

REDDY influence or pressure based on my interest | went to join university which is true

and correct.
I submit that Mr. SAMA SANTOSH REDDY, had never phoned me and asked to join in

University of Farmington.

 

Tlitrefore I request the Hon’ble concerned authorities please accept this above declaration which is true

~ and correct to the best of my knowledge and belief, and nothing has been therein.

rithee this affidavit. \ Vs Ma oth a
| ATTESTED ZiCl9 eee oe®

sworn and signed before me ter) VE / é
On this the 08" day of June, 2019 PASUPU LETI.VEDANT AM wb . ¢ nen
AtHyderabad. Advocate & Notary Rég No. 8815 DEPONENT my n
4 Appointed by Govt of India ; yee’ cot
. 84-119, Pavanouri Colony, Karmanghat ” ‘

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.617 Page 17 of 36

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.618 Page 18 of 36

From: Vinesh pollishetty,
Hyderabad, India,
June 29, 2019.

To: Honourable Judge Gershwin A. Drain,
United States District Court,

231 Lafayette Blvd,

Detroit, MI 48226.

Subject: letter to the judge in connection with Santosh Sama sentencing.
Dear judge Drain,

lam Vinesh Kumar Polishetty S/O Polishetty srinivasulu resident of Home No:
3-4-283, vysya hostel, kachiguda cross roads, Hyderabad 500027. Bearing a
passport number H7946380 addressing you to explain what had happened
about our admission in University of Farmington as | am also a student of that
university.

| feel sorrow for Santosh Sama who is experiencing Detention for helping
people who approached him themselves based on their own interest with
consciousness and aware of all university norms including me to join the
university.

| had a dream of pursuing masters in USA and do settle with a good job but lost
my hope when | lost my SEVIS in silicon valley university due to this university
lost its accreditation.

Later to full fill my dream | on my own interest joined University Of Farmington
WITHOUT any FORCE or INFLUENCE of Santosh Sama. | strongly convey that Mr
Santosh Sama NEVER campaigned and phoned me to join the university.

Thank you, for taking time to read the letter and | request you to consider my
words at the time of sentencing and give him a chance and release him by
considering his FUTURE and FAMILY.

| Vinesh pollishetty hereby depose my declaration in the form of affidavit _ a

  

attested by Notary public and also enclosing a copy of my passport. ey
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Thank } AA) AKY. LAA /\ ali .
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Respectfully submitted, 4416205966964

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.619 Page 19 of 36

 

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NAME: Vinesh Pollishetty.

SIGNITURE:

CONTACT NUMBER: 9346298510. | 420526 6864
PNK 314 @amail Com

 
Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.620 Page 20 of 36

    
      
 
      
       
      
   

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Advocate & Notary Reg. No. 8815

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1 PLR.

Cell: 92486382870

| Mr.Giri Subhash S/o Giri Dnarmaiah aged about 31 years, Occupation : Student, Resident
of Home No:7-2-31/194,S V Colony, Bairmalguda, LB Nagar, Hyderabad 500079, State of
Telangana, India do hereby solemnly affirm and state on oath as follows:

1) That | am the deponent herein and | as such | am well acquainted with the facts of
his affidavit.

2) | convey that | joined university of Farmington to secure my status as | lost my

“" SEVIS from SVU (Silicon Valley University) due to this university lost its
accreditation.

3) | submit that | joined university of Farmington myself WITHOUT Sama Santosh
Reddy influence or pressure, based on my OWN interest | went to join university
which is true and correct.

4) | submit that Mr Sama Santosh Reddy, had NEVER phoned me to join in University
of Farmington.
Therefore | request the Honourable concerned authorities to show leniency and release hin. ===

Pleae accept this above declaration which is true and correct to the best of my knowledge

 

and belief and nothing has been therein.
Hente this affidavit. ga seit b ws
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Swain and signed before me \ OX oa
On this the?’day of 2019 AT TESTED (SoRMPASE Se x)
At Hyderabad. Shy K, SRINIVASA RAO, ea... :
ADVOCATE & NOTARY Deponent.

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.622 Page 22 of 36

 
Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.623 Page 23 of 36

From: Giri Subhash,
Bairmalguda, Hyderabad.
June 29, 2019.

To: Honourable Judge Gershwin A. Drain,
United States District Court,

231 Lafayette Blvd,

Detroit, MI 48226.

Subject: Letter to the judge in connection with Santosh Sama sentencing.
Dear judge Drain,

I am Giri Subhash S/o Giri Dharmaiah Resident of Home No: 7-2-31/194,
S V Colony, Bairmalguda, LB Nagar, Hyderabad 500079. Bearing a passport
number H7279741 addressing you to explain what had happened about our
admission in University of Farmington as I am also a student of that
university.

I feel sorrow for Santosh Sama who is experiencing Detention for helping
people who approached him themselves based on their own interest with
consciousness and aware of all university norms including me to join the
university.

I had a dream of pursuing masters in USA and do settle with a good job but
lost my hope when I lost my SEVIS in silicon valley university due to this
university lost its accreditation.

Later to full fill my dream I on my own interest joined University Of
Farmington WITHOUT any FORCE or INFLUENCE of Santosh Sama. I
strongly convey that Mr Santosh Sama NEVER campaigned and phoned me
to join the university.

Thank you, for taking time to read the letter and I request you to consider
my words at the time of sentencing and give him a chance and release him
by considering his FUTURE and FAMILY.

I Giri Subhash hereby depose my declaration in the form of affidavit attested
by Notary public and also enclosing a copy of my passport.

Thank you,
Respectfully submitted,

 

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SIGNITURE: a, f AT TESTED
NAME: Giri Subhash, = K. SRINIVASA RAO, sai

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CONTACT NUMBER: 9912606245. ADVOCATE & NOT!

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.625 Page 25 of 36

  
  
  
      

  
    

 
  

   
    
  
  
  
      
    
    

  
  

      
 

    

   

     
  
 

  

 
        

        
  
   
 
   
 
  
  

 

 

     

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| Mr G Santosh Kumar S/o G Narsimha Rao aged about years, Occupation : Student,
Resident; of Home No:17-1-382/9/102,Government Press Colony, Champapet, Saidabad
500079, State of Telangana, India do hereby solemnly affirm and state on oath as follows:

1) ‘That | am the deponent herein and | as such | am well acquainted with the facts of
this affidavit.

2) | submit that Santosh Sama has been a peer of mine since my childhood and

a classmate for few years in higher education.

: $339) | convey that it is sorrow to see the light that people are putting him in now which |

Lean could not believe knowing him personally about his honesty, loyalty and trust

ee \worthy nature towards the society. ;

£ a) submit Santosh Sama is the only source and strength of the family as his wife and
{mother are home makers who are completely dependent on him for their livelihood

wT]
S go//and medication.

ey ‘| submit that Santosh Reddy Sama was NEVER involved in any crime in India as of
rene ‘date.

Theraford | request the Honourable concerned authorities to show leniency and release him.
Please accept this above declaration which is true and correct to the best of my knowledge
and belief and nothing has been therein. :

Hence this affidavit. AT TESTED ' OA66BI25 6S
; ¢, SRINIVASA RAO, sais. if

Sworn and signed before me ADVOCATE & N OTARY F: Com tox d doin a)

On this the day of 2019 . Residency, Oe haruthinagar cast,

At Hydergbad. 1 IAPET, HYDERABAD-500 035, 7.S., INDIA. Deponent.

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.626 Page 26 of 36

 
Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.627 Page 27 of 36

From: Santhosh,
Government press colony,
Hyderabad, India,

June 29, 2019.

To: HonourableJudge Gershwin A. Drain,
United States District Court,

231 Lafayette Blvd,

Detroit, MI 48226.

Subject: letter to the judge in connection with Santosh Sama sentencing.
Dear judge Drain,

| am G Santhosh Kumar S/O G Narsimha Rao Resident of Home No: 17-1-382/P/102
government press colony, Champapet, Saidabad, Hyderabad 500059. Bearing an Aadhar
number 3276 8693 9659. Writing you to explain my acquaintance with Santosh Sama and
his family in the hopes that will help you to see what kind of person Santosh is, despite the
transgressions that led us all at this point.

My relation to Santosh as a best friend and his family formed since my childhood as we used
to live in the same community behind their house located at government press colony
Hyderabad | have known Santosh Sama a good friend and neighbour for over 28 years. | was
both troubled and surprised to hear about his recent case as he has always been a rather
solid person | understand the seriousness of this matter however, hope the court will show
as one factor in your fair decision at the time of sentencing to some leniency.

Santosh has always been an upright character in the community. In our friendship he has
really been there for me, especially when the company | worked for closed. He made it a
point to be there and show a significant amount of support during a sudden and arduous job
search. It was Santosh that was a source of camaraderie for both me and my family. He has
truly been a good friend over the years.

In addition to our friendship, he is a usually upstanding member in the neighbourhood.
Santosh has been a peer of mine since my elementary school, and were classmates for few
years in higher education. In those years, he was always respectful of everyone
teachers,classmates,friendsand girls all alike. He is one of those people that no one has a
problem with, and is pretty much good at everything. we all know he’d be a good family
man for the care and affection towards family he has.as he is the only strength to them after
losing their father at the early ages, and in deep love with wife too as she also loves him to
the core. His family is a very respectable family in town. | know all his sisters who are elder
to him, as | also treat them as my sisters. They all seem like such good kids brought up by
more difficulties made them grounded.

It’s pretty frustrating to see the light that people are putting him in now. Which we couldn’t

believe knowing him personally and professionally about his honesty and loyalty.Santosh
av has always been there for me and my family willing to lend a hand with everything from
eb padi ransport to studying for tests. | honestly don’ t think | would have gotten through

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K. SRINIVASA ae

 

Ae rointe d by Govt. of
1-5-1/A/104, Balaji Residency, N

gaf East PA LLUDSAS
KOTHAPET, HYDERABAD-5

: Ss. INDIA

 
Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.628 Page 28 of 36

intermediate education without him. He was always available for every help he could do, to
all needed and believes in values like individuality and freedom. While it is unfortunate that
he has made some bad decisions unknowingly by trusting people deeply assuming everyone
are kind and open hearted same like him,thus resulting in this case.

| can tell you without doubt that Santosh Sama is incredibly remorseful for what had
happened unintentionally,had expressed this to memany times and he is really upset and
has been under tremendous stress to his wife and mother treatment and was struggling to
take care of them.| believe it has been reflected in Santosh’s efforts to make amends to the
court.

Thanking you for taking time to read my letter. Itis my sincere hope the court takes this
letter into consideration at the time of sentencing. Despite this case understand that
Santosh is the kind of person about whom people love him more for his trustworthy and
kind hearted nature, and | hope that you will give an opportunity for a chance to Santosh
while you make a fair decision.

Thank you,

Yours Faithfully,

  

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ADVOCATE & NOTARY
‘ Appointed by Govt. of Telangana
NAME: G Santhosh Kumar. 1-5-1/A/104, Balaji Residency, New Maruthinagar East,

KOTHAPET, HYDERABAD-500 035, TS., INDIA.
CONTACT NUMBER: 9966812565.

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RINIVASA RAO, oauc
ADVOCATE & NOTARY

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KOTHAPET, HYDERABAD-500 035, TS., INDIA

 

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.630 Page 30 of 36

GOVERNMENT PRESS COLONY
RESIDENTS WELFARE ASSOCIATION

(Regd. No. 5765/93)
H.No. 17-1-382/P/132, 1.S. Sadan, Champapet, Sagar Road, Hyderabad - 500 079., Telangana.

 

ADVISOR:

S. MAHENDER REDDY
Cell : 9866105992

From: S.Mahender Reddy,
Champapet, Hyderabad, India,

June 29, 2019.

To: Honourable Judge Gershwin A. Drain,
United States District Court,

231 Lafayette Blvd,

Detroit, MI 48226.

Subject: letter to the judge in connection with Santosh Sama sentencing.
Dear judge Drain,

My name is Sama Mahender Reddy S/O Sama Kishta Reddy resident of Home No: 17-
1382/P/17 Government Press Colony bearing an Aadhar number 5166 8760 8357. | know
Santosh Sama over 29 years from the day he was born. | have been a long relative, family
friend and neighbour to his father, family and him at press colony Hyderabad since 46 years.
| am aware of his current situation and | assure you it is out of character for him. | am also
aware of his family history with his father’s passing at young age and his recent marriage
and her health issues that cannot be dealt with until he returns home to India

He takes care of the family since after his father passing away from the young age he
struggled a lot, supported to his mother with his working for part time in the evenings after
his college hours and took the responsibilities of family of his mother and her health, he
took care of his three sisters brought up, providing them education helped them to do settle
and getting them married to valuable families, which made him a responsible and capable
person at the young age itself.

Santosh and | would spend quality time together as he was the child grown up in front of
our eyes with all our love ,he was always being available to everyone by participating in all
events happens in welfare association.

We would see each other at every event in the colony, social activities and family too.
Irrespective of the people he always gives a hand to help others to which he is remembered
for his kindness and helping nature to bring all out family and friends together for

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.631 Page 31 of 36

GOVERNMENT PRESS COLONY
RESIDENTS WELFARE ASSOCIATION

(Regd. No. 5765/93)
H.No, 17-1-382/P/132, .S. Sadan, Champapet, Sagar Road, Hyderabad - 500 079., Telangana.

 

ADVISOR:

S. MAHENDER REDDY
‘Cell : 9866105992

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| strongly remember an incident a day in the locality one of our friends of colony, of my age
was suffering from a severe disease of kidney to which their family cannot afford to meet
even medical expenses, understanding their pain as they also experienced bitter times,
Santosh helped them with a month salary of he worked for part time to meet his expenses
and support his mother. That family was very thankful to Santosh and us for the help we
initiated. There are many such incidents in which Santosh stood to helped others.

He has embraced religion and family in the hopes of starting his own family soon. Santosh is
like a son to me along with my two sons for the affection and values he has to the relations
and people. He took care of my wife and children as mother and brothers by taking them to
hospital as my small son was severely suffering from viral fever when | am out of station on
my business work, he was been completely available to them for the help, providing
facilities near hospital to which |, my wife and sons are very thankful to his helping nature.

| strongly believe that the current situation Santosh undergoing is truly unfortunate
happened unknowingly without his intention for which he lost all his character, family life,
time, respect he earned from childhood in our motherland.

Thank you for taking time to read my letter. Sir | sincerely request you to consider my
words and save his career and life of a girl who is in lot of problems to her survival here
without her husband and earn her living which is too hard to her now suddenly as she was
completely dependent on him, and he is too young to see life and learn a lot to do settle his
life to take care of his wife and mother as he is the only source of his family.

|.fully believe that the positive attitude Santosh brings to family and everywhere is directly
related to being a great son, husband, brother and friend is exhibitive every day in how he
conducts himself.

Thank you,
Yours sincerely,

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' ADVOCATE & WOTART |
——_ appointed by Govt. of Telangana a
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NAME: S Mahender Reddy.
CONTACT NUMBER: 9866105992.
Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.632 Page 32 of 36

 

 

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INFORMATION
® Aadhaar is proof of identity, not of citizenship.

H To establish identity, authenticate online.

 

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Vaishalinagar, K.V.
Rangareddy, Saroornagar,
Andhra Pradesh, 500079

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To
Sama Mahender Reddy
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S/O: ‘Sama-Kishta Reddy
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22/01/2013

 

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Vaishalinaga:,K_V.Rangareddy
Andhra-Pradesh - 500079

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GOVERNMENT PRESS COLONY
RESIDENTS WELFARE ASSOCIATION

(Regd. No. 5765/93)
H.No. 17-1-382/P/132, I.S. Sadan, Champapet, Sagar Road, Hyderabad - 500 079., Telangana.

 

TREASURER :
P. VIJAY KUMAR

Coll: ES tAS BVijay Kumar,
Government press colony,

Hyderabad, India,
June 29, 2019,

To: Honourable Judge Gershwin A. Drain,
Jnited States District Court,

231 Lafayette Blvd,

Detroit, MI 48226.

Subject: letter to the judge in connection with Santosh Sama sentencing.

Dear Judge Drain,

[am P.Vijay Kumar S/O Chittaraiah a retired employee of Geological Survey of India
and resident of home number 17-1-382/P/119 Government Press Colony
Champapet, Saidabad, Hyderabad 500059. Acting as the Treasurer to Government
Press Colony Residents Welfare Association located in Champapet Hyderabad. | and
colony association members are in deep shock after the news heard about Santosh
Sama and his present situation he is experiencing is unimaginable which is out of his
character.

| have had the pleasure of knowing Santosh Reddy Sama for twenty nine years and
his family since forty five years. During these years of acquaintance, | have known
Santosh in many capacities.

Santosh father Mr late Janardhan Reddy Sama is a good friend of mine who served
for state in department of police in Telangana now then Andhra Pradesh but lost him
at early age in the year 1996 from then his family faced many difficulties to survive.
They used to live with the little pension help provided by government and Earnings
of Santosh part-time work from young age in evenings after college hours to meet
their expenses and necessaries of family of mother and 3 sisters as he is the only
man source of the family which made him respected and responsible person at very

young age.

He used to take care of his mother and sisters by providing them education and
eee them to settle in better positiogs in, the society and in getting them married.

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MUVOCATE & ROTARY NAY
\piointed by Govt. of Telangana Itfie CS a
4. No. 8-6-283/62, Kermenane KF

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.634 Page 34 of 36

GOVERNMENT PRESS COLONY
RESIDENTS WELFARE ASSOCIATION

(Regd. No. 5765/93)
H.No. 17-1-382/P/132, ILS. Sadan, Champapet, Sagar Road, Hyderabad - 500 079., Telangana.

 

TREASURER :

P. VIJAY KUMAR
Cell : 9866871729 228

Sama Santosh used to participate in various social welfare activities conducted by
our colony by organising blood donation camps, planting trees in the name of
Haritha Haram, serving orphan and old age homes and conducted many education
programs to provide awareness on personality development and importance of
education to poor students which helys them to be in right path.

He was active participant in organising health camps like eye check-ups diabetics
check-ups, text book distribution for students by the colony association and front on
his feet to help elders.

He also used to spread the knowledge of cleanliness and proper usage of water
advising people to dig and make rain harvesting holes to save rainwater and which
can increase ground water level in every house. He always used to share ideas which
help people to live in and maintain a better society.

| honestly convey Santosh is active, dedicated, capable of the responsibilities he
committed towards family as well as society as we see him from his birth and
brought up in front of us with a good character.

| am aware of current situation of Santosh is undergoing there which | strongly
believe that it is out of his character and his family character. He is also like a son to
me as he has grown up playing with my children in our hands.

Whatever sorrow he is facing there is not only effecting him but led to severe health
issues and heart problems to his mother who is already a patient and to his wife
which is hardest and tough time she is experiencing without him.

Thankyou for taking time to read my letter. | sincerely request you and concerned
authorities of USA government to consider our word and give him a chance and
release him to save the lifes of his wife and mother.

Thanking you,
Yours faithfully,

     

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gt yin’ save. of Talangana
NAME: P.Vijay Kumar “=— | ‘op no ee armani

CONTACT NUMBER: 9866871729 H.Ne.8-5-2 ‘Ranga Reddy Oe
Case 2:19-cr- - i
9-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.635 Page 35 of 36

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Sars So~s / Enrollment No. : 1093/2021 0/01064

Patt Vija’ amar

s/o P Sen

17-1-382/P/119

champa pet press colony
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Saidabad

Saidabad,Hyderabad,

Andhra Pradesh - 500059

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B ‘ N . RA M 8.com,, LL.
ADVOCATE & NOTARY

Appointed By Govi. of Telangana inde

H.No.8-5-283/62, Karm angnat
Saroornagar, Ranga Ocu ¢
‘Case 2:19-cr-20026-GAD-EAS ECF No. 109-6 filed 09/05/19 PagelD.636 Page 36 of 36

 

  

“ADVOCATE

PASUPULETI VEDANTHAM H.No. 8-4-119,
MA. LL.M, PMIR Pavan Puri Colony,
Advocate Karmanghat, Hyderabad,

State of Telangana, India.

 

A | . Date: 08-06-2019.
TO WHOM SO EVER IT MAY CONCERN

This is to certify that Mr. SAMA SANTOSH REDDY, S/o. Late. Sama Janardhan
Reddy, resident of H.No. 17-1-382/P/98, Press Colony, Saidabad, Hyderabad — 500
079, State of Telangana, India, of Age: 29 Years, who pursued in ECE (Electronic and

_, Communication Engineering), from: Asifia College of Engineering and Technology
with an aggregate of 60.75% in academics bearing Passport bearing No. L4075876, is
an intelligent, nature, capable and dedicated young man, who is always quick on his
geet to social work with sensible reactions in all the circumstances is have seen him
in. I feel very confident in saying that he is responsible, known by with holding
family responsibilities of his mother & 3 Sisters, at early age of 16 Years.

I feel very unfortunate to unfair situation happed -to him by which his life and his
family went in to darkness as he is only sources of that family whom are completed
dependent on him for their survival.

So I request you (USA Govt. and ICE Department), to consider my words and give

him a chance out of humanity to save his wife life and release him, as he has no
criminal history in India, bearing Aadhaar Card No. 439144562434.

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WA Zp \2 9
(PASUPULETI VEDANTHA) :
Advocate
ATTESTED
PASUPULETI VEDANTHAM
fdvocate & No. 8815
